                                 OPINION
Appellant State of Ohio is appealing the decision of the Richland County Court of Common Pleas that found R.C. Chapter 2950 violated Section 9 and 10, Article I of the United States Constitution and Article II, Section 28 of the Ohio Constitution. The following facts give rise to this appeal.
On October 4, 1987, appellee was charged with three counts of Rape and two counts of Aggravated Burglary.  On July 13, 1988, he entered a plea of guilty to the three counts of Rape.  The charges of Aggravated Burglary were dismissed.  He was sentenced to thirteen to twenty-five years incarceration on each charge of Rape, to be served concurrently to each other, and consecutively with the sentence appellee was paroled on at the time of the offenses.
After the enactment of Ohio's version of Megan's Law, in R.C. Chapter 2950, the warden of the Ohio penal institution where appellee is incarcerated recommended that appellee be classified a "sexual predator".  Prior to this hearing, appellee filed a motion challenging the constitutionality of R.C. Chapter 2950.  On August 19, 1997, the trial court issued a judgment entry finding that R.C. Chapter 2950 is unconstitutional on ex post facto and retroactive grounds.
The State of Ohio timely filed its Notice of Appeal and sets forth the following Assignments of Error for our consideration:
  I.   APPLICATION OF OHIO REVISED CODE CHAPTER 2950 DOES NOT VIOLATE THE UNITED STATES CONSTITUTION.
  II.  APPLICATION OF OHIO REVISED CODE CHAPTER 2950 DOES NOT VIOLATE THE OHIO CONSTITUTION.
                                I.  II.
We will address appellant's first and second Assignments of Error simultaneously as both concern the retroactive application of R.C. Chapter 2950.  Appellant maintains, in its first Assignment of Error, the retroactive provisions of R.C. Chapter 2950 do not violate the Ex Post Facto Clause of the United States Constitution.  In its second Assignment of Error, appellant contends the retroactive provisions of R.C. Chapter 2950 do not violate Section 28, Article II of the Ohio Constitution.  We agree with both Assignments of Error.
We previously addressed these issues in the cases of Statevs. McIntyre (Feb. 1, 1999), Stark App. No. 1997CA00366, unreported; and State vs. Bair (Feb. 1, 1999), Stark App. No. 1997CA00232, unreported.  Based on the Ohio Supreme Court's decision in State vs. Cook (1998), 83 Ohio St.3d 404, we found R.C. Chapter 2950 is not unconstitutional on ex post facto and retroactive grounds.  In reaching this conclusion, we relied on paragraphs one and two of the syllabus in the Cook decision. These paragraphs provide as follows:
  1. R.C. 2950.09(B)(1), as applied to conduct prior to the effective date of the statute, does not violate the Retroactivity Clause of Section 28, Article II
of the Ohio Constitution.
  2. R.C. 2950.09(B)(1), as applied to conduct prior to the effective date of the statute, does not violate the Ex Post Facto Clause of Section 10, Article I
of the United States Constitution.
Pursuant to the Ohio Supreme Court's decision in Cook and our recent decisions in the McIntyre and Bair cases, we sustain appellant's first and second Assignments of Error.
Appellant's first and second Assignments of Error are sustained.
The judgment of the Richland County Common Pleas Court is hereby reversed and remanded for further proceedings consistent with this Opinion.
By:  Reader, V.J., Gwin, P.J. and Wise, J. concur.
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                               _____________________________ JUDGES
WDR/lmf    0218
JUDGMENT ENTRY
Case No. 97 CA 76
For the reasons stated in the Memorandum-Opinion on file, the judgment of the Richland County Common Pleas Court is reversed and remanded for further proceedings consistent with this Opinion. Costs to appellee.
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                               _____________________________ JUDGES